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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


QORVO, INC.

       Plaintiff,
                                                       Case No. 25-00006 (GBW)
v.

AKOUSTIS TECHNOLOGIES, INC., et al.,

       Respondents.


       JOINDER OF THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS TO
     THE DEBTORS’ REPLY TO QORVO’S MOTION TO WITHDRAW THE REFERENCE
          WITH RESPECT TO THE BIDDING PROCEDURES AND SALE MOTION

       The Official Committee of Unsecured Creditors (the “Committee”) of Akoustis

Technologies, Inc. (“Akoustis”) and its affiliated debtors and debtors in possession (collectively

with Akoustis, the “Debtors”), under chapter 11 of title 11 of the United States Code (the

“Bankruptcy Code”), before the Bankruptcy Court in the District of Delaware (the “Bankruptcy

Court”), by and through its undersigned proposed counsel, hereby submits this joinder (the

“Joinder”) to the Debtors’ objection (the “Debtors’ Objection”) to the Motion to Withdraw the

Reference with Respect to the Bidding Procedures and Sale Motion (the “Motion to Withdraw

the Reference”) filed by Qorvo, Inc. (“Qorvo”) in respect of the Debtors’ Motion of the Debtors

for Entry of Orders (I)(A) Approving Bidding Procedures for the Sale of Substantially all of the

Debtors’ Assets, (B) Authorizing the Debtors to Enter into the Stalking Horse Agreement and to

Provide Bidding Protections Thereunder, (C) Scheduling an Auction and Approving the Form

and Manner of Notice Thereof, (D) Approving Assumption and Assignment Procedures, (E)

Scheduling a Sale Hearing and Approving the Form and Manner of Notice thereof, and (F)

Granting Related Relief; an and (II)(A) Approving the Sale of the Debtors’ Assets Free and

Clear of Liens, Claims, Interests, and Encumbrances, (B) Approving the Assumption and
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Assignment of Executory Contracts and Unexpired Leases, and (C) Granting Related Relief [D.I.

14] (the “Bid Procedures Motion”).1 In support of the Debtors’ Objection, the Committee joins

in the Debtors’ Reply and respectfully states as follows:

                                                  Statement

        1.       Although the Debtors’ sale process, which was approved by the Bankruptcy Court

less than one week ago, may implicate Qorvo’s rights under the PI Order, Qorvo’s hypothetical

concerns do not justify the withdrawal of the reference to the District Court of the Debtors’ sale

process. Had the Debtors not filed for chapter 11 protection, the Committee agrees that the

District Court would be the proper forum to adjudicate any dispute with respect to a sale of the

Debtors’ assets and the implication of Qorvo’s protection under the PI Order. However, the

Debtors filing of their petitions nearly one month ago fundamentally changed the nature of the

dispute between Akoustis and Qorvo. Namely, what was once a two-party conflict over trade

secrets has become a multiparty endeavor to maximize the value of the Debtors’ assets and make

ratable distributions to their creditors. Despite the fundamental change in circumstances, Qorvo

seeks to return to that two-party fight between it and Akoustis in the District Court, ignoring the

Debtors’ bankruptcy and the interests of the Debtors’ other creditors.

        2.       The Committee and the Debtors submit that the Bankruptcy Court is the proper

forum for the Bid Procedures Motion – which was approved through an agreed order entered on

Monday, January 13, 20252 – to be considered. The Bankruptcy Code is, among other things,


1
    Capitalized terms not otherwise defined herein are to be given the meanings ascribed to them in the Motion to
    Withdraw the Reference.
2
    See, Order (I) Approving Bidding Procedures for the Sale of Substantially all of the Debtors’ Assets, (II)
    Authorizing the Debtors to Enter into the Stalking Horse Agreement and to Provide Bidding Protections
    Thereunder, (III) Scheduling an Auction and Approving the Form and Manner of Notice Thereof, (IV)
    Approving Assumption and Assignment Procedures, (V) Scheduling a Sale Hearing and Approving the Form
    and Manner of Notice thereof, and (VI) Granting Related Relief; an and (VII) Granting Related Relief [D.I.
    176] (“Bid Procedures Order”).



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designed to sell assets of a debtor and to consider the rights of each of the parties-in-interest to

such a sale. Here, in addition to a variety of unsecured trade creditors, the Debtors, a publicly

traded company, issued $44 million of unsecured notes in June 2022.             The treatment and

potential repayment of all unsecured claims, including the unsecured notes, will depend heavily,

if not entirely, on the Debtors’ sale process. Therefore, the Bankruptcy Court is uniquely

positioned and empowered by the Bankruptcy Code to consider the Bid Procedure Motion and

any issues arising from it, including Qorvo’s rights under the PI Order.

        3.      As such, the Committee joins in the Debtors’ arguments as set forth in the

Objection and respectfully requests that the Court deny the Motion to Withdraw the Reference

and grant the Committee and the Debtors such other and further relief as the Court may deem

just, proper and equitable.

                                   RESERVATION OF RIGHTS

        The Committee reserves all rights to amend, modify or supplement this Joinder. The

Committee further reserves the right to respond, as appropriate, to any filings related to the

Motion to Withdraw the Reference that are filed in the future and to make arguments with regard

to any other related filings.



                              [Remainder of page intentionally left blank]




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Dated: January 14, 2025          YOUNG CONAWAY STARGATT & TAYLOR,
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                                 Proposed Co-Counsel to the Official Committee of
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